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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       MICHAEL BRENT ROTHENBERG, et al.,               Case No. 23-cv-01603-JST
                                                       Plaintiffs,
                                   8
                                                                                           AMENDED ORDER OF DISMISSAL1
                                                 v.
                                   9
                                                                                           Re: ECF No. 30
                                  10       FEDERAL DEPOSIT INSURANCE
                                           CORPORPORATION, et al.,
                                  11                   Defendants.
                                  12
Northern District of California
 United States District Court




                                  13           Plaintiffs not having filed a response either to Defendants’ motion to dismiss, ECF No. 23,

                                  14   or to the Court’s January 17, 2024 order to show cause, ECF No. 28, and pursuant to the January

                                  15   17, 2024 order, Plaintiffs’ claims are now dismissed for failure to prosecute. Fed. R. Civ. P. 41(b).

                                  16   The Court’s order of dismissal “operates as an adjudication on the merits.” Id.

                                  17           Defendants’ cross-claims are not affected by this order. For the parties’ and the Court’s

                                  18   ease of reference, Defendants are ordered to file the operative cross-complaint as a separate

                                  19   document on the docket by February 9, 2024.

                                  20           IT IS SO ORDERED.

                                  21   Dated: January 31, 2024
                                                                                        ______________________________________
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                                                                                                      JON S. TIGAR
                                  23                                                            United States District Judge

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                                         This order amends the Court’s order dated January 26, 2024. ECF No. 30. That order dismissed
                                  28   the entire case, including Plaintiff’s claims but also—mistakenly—including Defendants’ cross-
                                       claims. That portion of the Court’s prior order dismissing the entire case is vacated.
